             Case 2:17-cr-00439-SDW                                Document 70                     Filed 11/08/17                     Page 1 of 1 PageID: 189

 ~CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 12/03)
I. CIR./DIST./ DIV. CODE   2. PERSON REPRESENTED                                                                            VOUCHER NUMBER
                                       TROY LINTON COOPER
3. MAG. DKT./DEF. NUMBER                         4. DIST. DKT./DEF. NUMBER                       5. APPEALS DKT./DEF. NUMBER                     6. OTHER DKT. NUMBER
                                                  2: 17-439-JLL-03
7. IN CASE/MATTER OF (Case Name)                 8. PAYMENTCATEGORY                              9. TYPE PERSON REPRESENTED                      IO. REPRESENTATION TYPE
                                                 lil Felony               0 Petty Offense        lil Adult Defendant         D Appellant              (See Instructions)
 USAV. GREEN, ET AL                      O Misdemeanor                    0 Other           O Juvenile Defendant             D Appellee      CC
                                         DA eal                                             D Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity ofoffense.
 18:1349 (WIRE FRAUD) & 18:371 (CONSPIRACY TO COMMIT OFFENSE AGAINST THE US)
12. ATTORNEY'S NAME (First Name, M./., last Name, including any suffix),                         13. COURT ORDER
    AND MAILING ADDRESS                                                                           0 0 Appointing Counsel                         D C Co-Counsel
                                                                                                  lil F Subs For Federal Defender                D R Subs For Retained Attorney
 Peter R. Willis                                                                                  D P Subs For Panel Attorney                    D Y Standby Counsel
 921 Bergen Avenue #525
                                                                                                 Prior Attorney's Name: Lisa Mack
 Jersey City, NJ 07306                                                                              Appointment Dates: -----.1""'1""'/0"""8""/2""0,,....,.1"'7,.....-----------
                                                                                                  0 Because the above-named person represented has testified under oath or has otherwise
      Telephone Number: _ _ _ _ _ _(..;..2_0_1...;.)_6_5_9_-_2_09_0
                                                                 ______
1-------------------------------1
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)
                                                                                                 satisfied this Court that he or she (I) is financially unable to employ counsel and (2) does
                                                                                                 not wish to waive counsel, and because the interests · rice so require, the attorney whose
                                                                                                 name appears in Item 12 is appoint                             on in this case, OR
                                                                                                  0 Other (See L
 Peter R. Willis
 921 Bergen Avenue #525
 Jersey City, NJ 07306
                                                                                                                                                            Nunc Pro Tune Date
                                                                                                 Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                 appointment.        0 YES 0 NO


          CATEGORIES (Attach itemization ofservices with dates)

15.  a. Arrai ment and/or Plea
     b. Bail and Detention Hearin s
     c. Motion Hearin s
     d. Trial
  ~1----------------------1-------
      =
     e. Sentencin Hearin s
  (l f Revocation Hearin s
  ~1-----------------------1-------

                                                           TOTALS:




      FROM:                                          TO:
22. CLAIMSTATUS                    D Final Payment             D Interim Payment Number                                          D Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursement for this    D YES       D NO            If yes, were you paid?    D YES D NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
      representation? D YES         D NO            If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.




28. SIGNATURE OF THE PRESIDING JUDGE                                                                      DATE                                    28a. JUDGE CODE

29. IN COURT COMP.                    30. OUT OF COURT COMP.           31. TRAVEL EXPENSES                32. OTHER EXPENSES                      33. TOTAL AMT. APPROVED
                                                                                                                                                  $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                             DATE                                    34a. JUDGE CODE
    in excess of the statutory threshold amount.
